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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                               No. CR 03-2072 JB

ANTONIUS MARIA HEIJNEN,
ELIZABETH A. PERRAGLIO,
MARIA DEL CARMEN PATRON
RODRIGUEZ,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on Defendant Antonius Maria Heijnen’s

Motion/Request for Court Opinion and Memorandum on matters of venue, filed October 5, 2004

(Doc. 41). The issue is whether the Court should issue an opinion to Heijnen about where to file a

case he is preparing. Because giving such advice would be to issue an advisory opinion, and because

the United States Constitution prohibits federal courts from giving advisory opinions, the Court will

deny Hiejnen’s motion.

                                 PROCEDURAL BACKGROUND

        Heijnen represents that he is preparing litigation under the Freedom of Information Act

(“FOIA”) and wishes to obtain a court opinion regarding venue so that he can initiate the case in the

proper court “for the purpose of efficient jurisprudence.” Specifically, Heijnen asks the Court: “Is

this (legislative Article IV) US District Court the proper forum for litigation under FOIA, or would

such litigation have to be initiated in a (constitutional Article III) district court of the United States?”

Heijnen states that he brings this question to the Court because he does not want to burden the Court
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unnecessarily and does not want to initiate FOIA litigation in this Court when he should have initiated

the litigation in a United States District Court.

        The United States opposes Heijnen’s motion. The United States argues that the Court should

deny Heijnen’s motion because it requests an advisory opinion.

                                             ANALYSIS

        Heijnen in his motion asks the Court to tell him whether he can initiate litigation in this Court

pursuant to FOIA or whether he needs to file in a different court. Heijnen contends that it is in the

best interest of efficient jurisprudence that the Court answer his question as soon as possible. While

the Court will decline to answer his question for the reasons stated herein, the Court notes that

Heijnen premises his question on an erroneous legal assumption. This Court is not a “legislative

Article IV court,” but is a United States District Court that Congress established under § 8 of Article

I and under § 1 of Article III of the Constitution. See 28 U.S.C. § 132. Thus, this Court is an Article

III court.

        Heijnen asks the Court to opine whether this is the proper court in which to initiate FOIA

litigation because he does not want to burden this Court unnecessarily should it turn out to be the

wrong venue. Heijnen is asking for an advisory opinion whether the Court would grant a motion to

dismiss for lack of venue if he were to initiate FOIA litigation in this Court. Federal Courts have

consistently refused to give such “advance expressions of legal judgment upon issues which remain

unfocused because they are not pressed before the Court with that clear concreteness provided when

a question emerges precisely framed and necessary for decision from a clash of adversary argument

exploring every aspect of a multifaced situation embracing conflicting and demanding interests.”

United States v. Fruehauf, 365 U.S. 146, 157 (1961). “The rule against advisory opinions was


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established as early as 1793 and the rule has been adhered to without deviation.” Flast v. Cohen, 392

U.S. 83, 96 n.14 (1968) (citing United States v. Fruehauf, 365 U.S. at 157). See U.S. Nat’l Bank

of Ore. v. Indep. Ins. Agents, 508 U.S. 439, 446 (1993); Preiser v. Newkirk, 422 U.S. 395, 401

(1975). Accordingly, the Court should not issue the advisory opinion that Hiejnen seeks.

       IT IS ORDERED that Defendant Antonius Maria Heijnen’s Motion/Request for Court

Opinion and Memorandum on matters of venue is denied.



                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE

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